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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                                 §
                                                 §
       Plaintiff                                 §
                                                 § CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                                 §
       Versus                                    §
                                                 §
REC MARINE LOGISTICS LLC, ET AL.                 § TRIAL BY JURY DEMANDED
                                                 §
       Defendants                                §


                                             ORDER


       Plaintiff, McArthur Griffin’s, Motion for Leave to File Reply Memorandum in Further

Support of Amended Motion to Compel Responses to Plaintiff’s Second Requests for Production

and Second Interrogatories is hereby GRANTED. Plaintiff’s Reply Memorandum in Further

Support of Amended Motion to Compel Responses to Plaintiff’s Second Requests for Production

and Second Interrogatories shall be filed in the record herein.


       IT IS SO ORDERED.

       Signed in Baton Rouge, Louisiana, on ___ day of _________________, 2021.




                                              ERIN WILDER DOOMES
                                              UNITED STATES MAGISTRATE JUDGE
